                                                                                        Case 1:22-cv-00699-KJM-CKD Document 47 Filed 05/31/24 Page 1 of 2


                                                                                    1

                                                                                    2

                                                                                    3

                                                                                    4

                                                                                    5

                                                                                    6

                                                                                    7

                                                                                    8
355 South Grand Ave., Suite 2850, Los Angeles, California 90071




                                                                                                              UNITED STATES DISTRICT COURT FOR THE
                                                                                    9                            EASTERN DISTRICT OF CALIFORNIA
                                                                                                                      SACRAMENTO DIVISION
                                                                                   10

                                                                                   11 MICHELLE SNOW,
                HUSCH BLACKWELL, LLP




                                                                                                                                       Case No.:       1:22-CV-00699-KJM-CKD
                                                                                   12
                                                                                                               Plaintiff,
                                                                  (213) 337-6550




                                                                                   13
                                                                                        v.                                             ORDER GRANTING THE FIFTH JOINT
                                                                                   14                                                  STIPULATION TO MODIFY SCHEDULING
                                                                                                                                       ORDER
                                                                                   15 CONAGRA BRANDS, INC., and DOES 1
                                                                                      through 50, inclusive,                           [Concurrently filed with the Joint Stipulation and
                                                                                   16                                                  Declaration of Allison Scott]
                                                                                                             Defendant.
                                                                                   17
                                                                                                                                       Complaint Filed:     April 5, 2022
                                                                                   18                                                  Trial Date:   To be determined

                                                                                   19
                                                                                                Pursuant to the Fifth Joint Stipulation to Modify the Scheduling Conference Order, IT IS
                                                                                   20
                                                                                        SO ORDERED:
                                                                                   21
                                                                                             1. The Court GRANTS the Parties’ Fifth Joint Stipulation to Modify the Scheduling
                                                                                   22
                                                                                                Conference Order.
                                                                                   23
                                                                                             2. The Court continues the nonexpert discovery cutoff, and dispositive motion deadline as
                                                                                   24
                                                                                                follows:
                                                                                   25
                                                                                                           a. Nonexpert discovery cutoff is continued from June 7, 2024, to July 22,
                                                                                   26
                                                                                                              2024, to complete plaintiff’s deposition related to her notebooks, potentially
                                                                                   27
                                                                                                              depose Navi Kaur at EAG Professional Medical Corporation, and resolve
                                                                                   28
                                                                                                                                   1                Case No. 1:22-CV-00699- KJM-CKD
                                                                                                            ORDER GRANTING FOURTH JOINT STIPULATION TO MODIFY
                                                                                                                           SCHEDULING ORDER
                                                                                        Case 1:22-cv-00699-KJM-CKD Document 47 Filed 05/31/24 Page 2 of 2


                                                                                    1                   outstanding issues related to plaintiff’s handwritten notes created after

                                                                                    2                   2021; and

                                                                                    3                b. Dispositive motion filing deadline is continued from June 14, 2024, to

                                                                                    4                   July 29, 2024.

                                                                                    5        IT IS SO ORDERED.

                                                                                    6 DATED: May 30, 2024.

                                                                                    7

                                                                                    8
355 South Grand Ave., Suite 2850, Los Angeles, California 90071




                                                                                    9

                                                                                   10

                                                                                   11
                HUSCH BLACKWELL, LLP




                                                                                   12
                                                                  (213) 337-6550




                                                                                   13

                                                                                   14

                                                                                   15

                                                                                   16

                                                                                   17

                                                                                   18

                                                                                   19

                                                                                   20

                                                                                   21

                                                                                   22

                                                                                   23

                                                                                   24

                                                                                   25

                                                                                   26

                                                                                   27

                                                                                   28
                                                                                                                              2                Case No. 1:22-CV-00699- KJM-CKD
                                                                                                       ORDER GRANTING FOURTH JOINT STIPULATION TO MODIFY
                                                                                                                      SCHEDULING ORDER
